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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 PATRICIA GLOFF                                   §
                                                  §
 v.                                               §   CIVIL ACTION NO. 6:19-cv-00175
                                                  §   JURY
 JEFFERY JAMES, Ind. and d/b/a                    §
 JAMES TRUCKING, INC., LANDSTAR                   §
 RANGER, INC. and LANDSTAR                        §
 SYSTEM, INC.                                     §

      DEFENDANTS JEFFREY JAMES, IND. AND D/B/A JAMES TRUCKING, INC. AND
               LANDSTAR RANGER, INC.’S NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:

        COME NOW, Jeffrey James, Ind. and d/b/a James Trucking, Inc. (hereinafter, “Jeffrey

James”) and Landstar Ranger, Inc., (hereinafter, “Landstar Ranger”), Defendants in the above

matter (hereinafter, Jeffrey James and Landstar Ranger are collectively referred to as

“Defendants”), and file this Notice of Removal of the above-captioned case to the United States

District Court for the Western District of Texas, Waco Division, from the 414th Judicial District

Court of McLennan County, Texas, and for their Notice of Removal state:

                                              I.
                                        INTRODUCTION

        1.     Plaintiff Patricia Gloff (hereinafter, “Plaintiff” or “Gloff”) is a citizen of the State

of Texas, and, upon information contained in Plaintiff’s Original Petition and Request for

Discovery filed in the 414th Judicial District Court of McLennan County, is a resident of and

domiciled in McLennan County, Texas.

        2.     Defendant Landstar Ranger is a foreign corporation organized and established

under the laws of the State of Delaware, with its corporate office and principal place of business




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in Florida, located at 13410 Sutton Park South, Jacksonville, Florida 32224, and doing business

in the State of Texas.

       3.      Defendant Jeffrey James is a citizen of the State of Kansas and a resident of and

domiciled in Wakefield, Clay County, Kansas.

       4.      Defendant Landstar Ranger was served with suit on or about January 18, 2019.

Defendant Jeffrey James was served with suit on or about January 28, 2019. Defendants,

therefore, have filed this Notice of Removal within the thirty-day time period required by federal

law.

       5.      Plaintiff has sued Defendants asserting negligence in the 414th Judicial District

Court of McLennan County, Texas, Cause No. 2019-81-5.

                                            II.
                                    BASIS FOR REMOVAL

       6.      Removal is proper under 28 U.S.C. § 1332(a) because Plaintiff’s suit is a civil

action in which this Court has original jurisdiction over the parties, based upon diversity

jurisdiction under 28 U.S.C. § 1332. This action is one which is removable to this Court

pursuant to the provisions of 28 U.S.C. §1441(b) because Plaintiff is a citizen of the State of

Texas, Defendant Jeffrey James is a citizen of the State of Kansas, and Landstar Ranger is a

foreign corporation organized and established under the laws of the State of Delaware, with its

corporate office and principal place of business in Florida, located at 13410 Sutton Park South,

Jacksonville, Florida 32224, and doing business in the State of Texas.

       7.      For diversity purposes, a person is considered a citizen of the state where that

person is domiciled. Additionally, for diversity purposes, a corporation is a citizen of both the

state in which it was incorporated and the state in which it has its principal place of business. 28

U.S.C. §1332(c)(1). For Landstar Ranger, this test implicates the State of Delaware and the State



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of Florida. Because the Plaintiff does not share citizenship with the Defendants in any state,

removal is proper on diversity grounds.

        8.      The Defendants are now, and were at the time the removed action was

commenced, diverse in citizenship from the Plaintiff. 28 U.S.C. § 1332. Accordingly, because

the notice of removal was filed within thirty days after the receipt of a copy of the initial

pleading setting forth the claim for relief this removal is proper and timely under 28 U.S.C.

§1446(b).

        9.      The amount in controversy in this action exceeds, exclusive of interest and costs,

the sum of One Million and No/100 Dollars ($1,000,000.00). Plaintiff’s Original Petition and

Request for Discovery, attached to this Notice, alleges that Plaintiff intends to show that her

damages are in excess of $1,000,000.00. See Plaintiff’s Original Petition and Request for

Disclosure, page 3 at paragraph 3.2.

        10.     All pleadings, process, orders, and all other filings in the State Court action are

attached to the Notice of Removal as required by 28 U.S.C. § 1446(a) and are resubmitted

herewith.

        11.     The United States District Court for the Western District of Texas, Waco

Division, embraces McLennan County, Texas, the place where the State Court Action was filed

and is pending. This statement is not meant as a waiver of any argument that venue is improper

in the location in which the State Court Action was filed, but merely demonstrates the propriety

of removing the action to this federal judicial district.

        12.     Defendants file a copy of the Notice of Removal with the Clerk of the State Court

in which the action had been pending.




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       13.     Defendants hereby demand a trial by jury in accordance with the provisions of

FED. R. CIV. P. 38.

       WHEREFORE, Defendants, as parties in diversity with the Plaintiff, respectfully request

that this action be immediately and entirely removed upon filing this Notice of Removal to the

United States District Court for the Western District of Texas, Waco Division, and for such other

and further relief to which Defendants may show themselves to be justly entitled.

                                            Respectfully submitted,




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                                            RANGER, INC.




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                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on February 27, 2019, the foregoing was filed with
the Clerk of the Court for the U.S. District Court, Western District of Texas, using the electronic
case filing system of the court. The electronic case filing system sent a “Notice of Electronic
Filing” to the following attorneys of record who have consented in writing to accept this Notice
as service of documents by electronic means.

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